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SNFL
~ NOTE
SEPTEMBER 20, 2006 BRANDON FLORIDA
[Date] City! [State]

3424 VALE CIR, RIVERVIEW, FL 33569
{Property Address]

1. BORROWER’S PROMISE TO PAY
In return for aloan that have received, I promise to pay U.S. $ 215 ,000,00 {this amount is called
Principal"), plus interest, to the order of the Lender. The Lender is wasHINGTON MUTUAL BANK, FA

I will make all payments under this Note in the form of cash, check or money order.
I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who
is entitled to receive payments under this Note is called the "Note Holder."

2, INTEREST

Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest at a
yearly rate of 7.000 %,

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section
6(B) of this Note.
3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the 4sT day of each month beginning on NOVEMBER, 2006
I will make these payments every month until I have paid all of the principal and interest and any other charges described
below that I may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be
applied to interest before Principal. If, on OCTOBER 01, 2036 , I still owe amounts under this Note, I
will pay those amounts in full on that date, which is called the "Maturity Date."

I will make my monthly paymenisat p.o,BOX 78148 PHOENIX, AZ 85062-8148

or at a different place if required by the Note Holder.
(B) Amount of Monthly Payments
My monthly payment will be inthe amountofU.S.$ 1,430.40

4. BORROWER’S RIGHT TO PREPAY

I have the right to make payments of Principal at any time before they are due. A payment of Principal only is
known as a "Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that lam doing so. I may
not designate a payment as a Prepayment if I have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will
use my Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may
apply my Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment
to reduce the Principal amount of the Note. If I make a partial Prepayment, there will be no changes in the due date or in
the amount of my monthly payment unless the Note Holder agrees in writing to those changes.

5, LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest
or other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: {a} any
such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums
already collected from me which exceeded permitted limits will be refunded to me. The Note Holder may choose to
make this refund by reducing the Principal I owe under this Note or by making a direct payment to me. If a refund
reduces Principal, the reduction will be treated as a partial Prepayment.

FLORIDA FIXED RATE NOTE — Single Family - Fannie Mae/Freddia Mac UNIFORM INSTRUMENT

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VMP MORTGAGE FORMS - (800/521-7291
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6. BORROWER’S FAILURE TO PAY AS REQUIRED
(A) Late Charge for Overdue Payments
If the Note Holder has not received the full amount of any monthly payment by theendof 75
calendar days after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be

5 ooo % of my overdve payment of principal and interest. 1 will pay this late charge promptly but
only once on each late payment.
(B) Default

If I do not pay the full amount of each monthly payment on the date it is due, 1 will be in default.

(C) Notice of Default

If 1 am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount
by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been
paid and all the interest that I owe on that amount. That date must be at least 30 days after the date on which the notice
is mailed to me or delivered by other means.

(D) No Waiver By Note Holder

Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as
described above, the Note Holder will still have the right to do so if 1 am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the
right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by
applicable law. Those expenses include, for example, reasonable attorneys’ fees.

7, GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be
given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if
1 give the Note Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by
first class mail to the Note Holder at the address stated in Section 3(A) above or at a different address if { am given a
notice of that different address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

if more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or
endorser of this Note is also obligated to do these things. Any person who takes over these obligations, including the
obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in this
Note. The Note Holder may enforce its rights under this Note against each person individually or against all of us
together, This means that any one of us may be required to pay all of the amounts owed under this Note.

9. WAIVERS

1 and any other person who has obligations under this Note waive the rights of Presentment and Notice of
Dishonor. “Presentment” means the right to require the Note Holder to demand payment of amounts due. "Notice of
Dishonor" means the right to require the Note Holder to give notice to other persons that amounts due have not been
paid.

 

10. UNIFORM SECURED NOTE |
This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections

given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"),

dated the same date as this Note, protects the Note Holder from possible losses which might result if I do not keep the

promises which I make in this Note. That Security Instrument describes how and under what conditions I may be

required to make immediate payment in full of all amounts 1 owe under this Note. Some of those conditions are

described as follows:

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
nota natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

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If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15 within
which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums
prior to the expiration of this period, Lender may invoke any remedies permitted by this Security Instrument
without further notice or demand on Borrower.

tt, DOCUMENTARY TAX
The state documentary tax due on this Note has been paid on the mortgage securing this indebtedness,

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

(Seal) A Gli > (Seal)
-Borrower EDWIN MARTINEZ Q «Borrower

 

   

 

 

 

 

 

(Seal) (Seal)
-Borrower ~Borrower
(Seal) (Seal)
-Borrower -Borrower
(Seal) (Seal)
-Borrower -Borrower
{Sign Original Only}

Pay to the order of

Without Recourse

Washington Mutual Bank, FA

 

Zp, — SNIFL} (0005) Pago 3 of 3 Form 3210 1/01
